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CALV|N BOHANON
Wa|ter L. Bailey, Jr.l Retained
Defense Attorney
100 N. Main St., Ste. 3002
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on October 21, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section U..a_fur€°f__°w.§_€ Offense Numberjs)
Conc|uded
18 U.S.C. § 922(g) Possession of a Firearm by a 09/10/2003 1

Convicted Fe|on

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

iT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of- name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 408~33-1691 Date of imposition of Sentence:
Defendant’s Date of Birth: 04/13/1978 August 26, 2005
Deft’s U.S. |V|arshal No.: 19551-076

Defendant’s lV|ailing Address:
2960 Knightway
Memphis, TN 38115

 

 
 

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Case No: 2:04CR20064-01 Defendant Name: Ca|vin BOHANON Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months.

The Court recommends to the Bureau of Prisons:
That the defendant participate in job skills training courses and GED course.
That defendant participate in the 500 hour comprehensive drug treatment program.

That the defendant be designated to a facility as close to Memphis, Tennessee as
possib|e.

The defendant is remanded to the custody of the United States Marshai.

RE'|'U RN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNiTED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20064-01 Defendant Name: Ca|vin BOHANON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation ofhcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ofhcer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofhcer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit coancation of any contraband observed in plain view by the probation ofticer;

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Case No: 2:04CR20064~01 Defendant Name: Calvin BOHANON Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notihcations and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer.

The defendant shall obtain and maintain lawful full-time employment

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitutlon was ordered.

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20064 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

i\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

